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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS


PERRY HOPMAN,                                        )
                                                     )
                Plaintiff;                           )
                                                     )
v.                                                   )     Case No. 4:18-cv-74-KGB
                                                     )
UNION PACIFIC RAILROAD COMPANY,                      )
                                                     )
                Defendant.                           )
                                                     _______

                     DEFENDANT UNION PACIFIC RAILROAD COMPANY’S
                          ANSWER TO PLAINTIFF’S COMPLAINT

       COMES NOW Defendant Union Pacific Railroad Company (“Union Pacific"), by and

through its attorneys of record, pursuant to Federal Rules of Civil Procedure 7(a)(2) and

8(b)(c)(1), and files its Answer and Affirmative Defenses to the Amended Complaint

(“Complaint”) (ECF No. 4) filed by Plaintiff, Perry Hopman (“Plaintiff”). For its answer Union

Pacific states and avers as follows:

       1.       Union Pacific admits the averments in paragraph 1 of the Complaint.

       2.       Union Pacific admits that it is a corporation engaged in interstate commerce; that

the company employs more than 500 people; that the company’s corporate headquarters is

located at 1400 Douglas Street, Omaha, NE 68179; that the company does business within the

geographic boundaries of the United States District Court for the Eastern District of Arkansas;

and that Union Pacific’s registered agent in Arkansas is the Corporation Company. Union

Pacific is without sufficient information to admit or deny the remaining averments in paragraph 2

and therefore denies the same.
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       3.       In paragraph 3 of the Complaint, Plaintiff purports to bring an action pursuant to

the Rehabilitation Act of 1973, as amended, 29 U.S.C. § 794 et. seq. Union Pacific denies that

Plaintiff can satisfy the factual requirements needed to maintain suit under these Acts.

                                JURISDICTION AND VENUE

       4.       Paragraph 4 of the Complaint states a legal conclusion to which no response is

required.    However, to the extent a further response is required; Union Pacific denies the

remaining averments in paragraph 5 of the Complaint.

       5.       Paragraph 5 of the Complaint states a legal conclusion to which no response is

required.    However, to the extent a further response is required; Union Pacific denies the

remaining averments in paragraph 5 of the Complaint.

       6.       Paragraph 6 of the Complaint states a legal conclusion to which no response is

required. However, to extent a further response is required; Union Pacific denies the remaining

averments in paragraph 6 of the Complaint.

       7.       Union Pacific denies the averments in paragraph 7 of the Complaint.

       8.       Paragraph 8 of the Complaint states a legal conclusion to which no response is

required.    However, to the extent a further response is required; Union Pacific denies the

remaining averments in paragraph 8 of the Complaint.

                                   STATEMENT OF FACTS

       9.       Union Pacific admits the averments in paragraph 9 of the Complaint.

       10.      Union Pacific lacks sufficient information to either admit or deny the averments

contained in paragraph 10 of the Complaint and therefore denies the same.

       11.      Union Pacific lacks sufficient information to either admit or deny the averments

contained in paragraph 11 of the Complaint and therefore denies the same.
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       12.    Union Pacific admits that Plaintiff requested an accommodation on or about April

1, 2016, to bring a service animal to work. Union Pacific admits that Plaintiff made the same

request for accommodation on May 9, 2017. Union Pacific lacks sufficient information to either

admit or deny the remaining averments contained in paragraph 12 of the Complaint and therefore

denies the same.

       13.    Union Pacific lacks sufficient information to either admit or deny the averments

contained in paragraph 13 of the Complaint and therefore denies the same.

       14.    Union Pacific denies the averments in paragraph 14 of the Complaint.

       15.    Union Pacific denies the averments in paragraph 15 of the Complaint.

       16.    Union Pacific admits that it denied his request for an accommodation to bring his

Rottweiler to work. Union Pacific denies the remaining averments contained in paragraph 16 of

the Complaint and therefore denies the same.

       17.    Union Pacific denies the averments in paragraph 17 of the Complaint.

       18.    Union Pacific denies the averments in paragraph 18 of the Complaint.

       19.    Union Pacific denies the averments in paragraph 19 of the Complaint.

       20.    Union Pacific denies the averments in paragraph 20 of the Complaint.

       21.    Union Pacific denies the averments in paragraph 21 of the Complaint.

       22.    Union Pacific denies the averments in paragraph 22 of the Complaint.

       23.    Union Pacific denies the averments in paragraph 23 of the Complaint.

       24.    Union Pacific denies the averments in paragraph 24 of the Complaint.

       25.    Union Pacific denies the averments in paragraph 25 of the Complaint.

       26.    Union Pacific denies the averments in paragraph 26 of the Complaint.
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                                  PLAINTIFF’S PRAYER FOR RELIEF

        The remainder of the Complaint constitutes Plaintiff’s prayer for relief and demand for a

trial by jury, which require no answers. Insofar as answers may be deemed required, they are

denied. Union Pacific denies any and all other averments contained in the Complaint unless

otherwise expressly admitted herein.

                                    AFFIRMATIVE DEFENSES

        Union Pacific incorporates by reference it’s responses and denials to paragraphs 1-21 of

the Complaint. Union Pacific further states the following new matters constituting its affirmative

defenses to the Complaint.

                                  FIRST AFFIRMATIVE DEFENSE

        The Complaint fails to state a claim upon which relief can be granted.

                                  SECOND AFFIRMATIVE DEFENSE

        Plaintiff's claims are barred in whole or part by his failure to exhaust

administrative remedies and/or comply with the administrative prerequisites to bringing a

claim in Court, including filing a timely charge with the United States Equal Employment

Opportunity Commission.

                                  THIRD AFFIRMATIVE DEFENSE

        Plaintiff is not a qualified individual with a disability as defined by Section 504 of the

Rehabilitation Act or the Americans with Disabilities Act.

                                   FOURTH AFFIRMATIVE DEFENSE

        The accommodations requested by Plaintiff were neither reasonable nor necessary for

Plaintiff’s alleged disability.
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                                   FIFTH AFFIRMATIVE DEFENSE

         The accommodations requested by Plaintiff would have imposed an undue hardship on

Union Pacific’s business operations. See 29 C.F.R. § 1630.15(d).

                                  SIXTH AFFIRMATIVE DEFENSE

       The accommodations requested by Plaintiff would have conflicted with provisions of the

49 U.S.C. § 20101 et seq. See 29 C.F.R. § 1630.15(e).

                                SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff has failed to properly mitigate his damages, if any.

                                         PRAYER FOR RELIEF

       WHEREFORE, having fully answered the Complaint, Union Pacific respectfully requests

that the same be dismissed, with Plaintiff responsible for his own costs; Union Pacific to recover

the costs and fees from Plaintiff that it expended defending this action; and that the court order

such other in further relief as it deems just and proper.

       DATED this 13th day of March, 2018.

                                               UNION PACIFIC RAILROAD COMPANY



                                               By:     s/Torry N. Garland
                                                       Torry N. Garland, NE #21624
                                                       1400 Douglas Street, M.S. 1580
                                                       Omaha, NE 68179
                                                       Tel: 402.544.3135
                                                       eMail: tngarlan@up.com
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of March, 2018, I filed and served the foregoing with

the Clerk of Court using the CM/ECF system which will send notification of such filing to the

following:

       Gregory G. Paul
       Morgan & Paul, PLLC
       First & Market Building
       100 First Avenue, Suite 1010
       Pittsburgh, PA 15222
       Tel: 412.259.8375
       Email: gregpaul@morgan-paul.com

                                                   s/Torry N. Garland
                                                   Torry N. Garland
